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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 JASON BOOTH, derivatively on behalf of
 3D SYSTEMS CORPORATION,

                                    Plaintiff,

 V.



 ABRAHAM N. REICHENTAL, DAMON
 J. GREGOIRE, CHARLES W. HULL,                      Case No . 1: 15-cv-00692-RGA
 TED HULL, DANIELS . VAN RIPER, G.
 WALTER LOEWENBAUM, II, JIM D.
 KEVER, KAREN E. WELKE, KEVIN S.
 MOORE, PETER H. DIAMANDIS,
 WILLIAM D. HUMES, and WILLIAM E.
 CURRAN,

                                 Defendants,

 and

 3D SYSTEMS CORPORATION,

                         Nominal Defendant.


               STIPULATION AND [M,O,R0,s.ED) ORDER OF DISMISSAL

       WHEREAS, on December 19, 2019, the United States District Court for the District of

South Carolina entered its Final Order and Judgment in the action styled In Re JD Systems

Corporation Derivative Litigation, Lead Case No. 0: l 5-cv-03756-MGL, a true copy of which is

attached hereto as Exhibit A, dismissing with prejudice all claims arising out of the same facts and

circumstances alleged in the above-captioned action (the "Action") ;

       NOW THEREFORE, pursuant to Federal Rule of Civil Procedure 4l(a) and subject to the

approval of the Court, the parties hereby stipulate to the dismissal of the Action with prejudice on

the grounds of res judicata and estoppel by judgment, with each party to bear its own costs.
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Dated: January 24, 2020                           RIGRODSKY & LONG, P.A.

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                    SO ORDERED this      1-'1" Day of January, 2020.




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                            Exhibit A
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                         UNITED ST ATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              ROCK HILL DIVISION

JAMES NALLY, derivatively on behalf of )       Civil Action No. 0:15-cv-03756-MGL
3D SYSTEMS CORPORATION,                )
                                       )
            Plaintiff,                 )
                                       )
      V.                               )
                                       )
ABRAHAM N. REICHENT AL, DAMON )
J. GREGOIRE, CHARLES W. HULL,          )
DANIELS. VAN RIPER, G. WALTER          )
LOEWENBAUM, II, JIM D. KEVER,          )
KAREN E. WELKE, KEVIN S. MOORE, )
PETER H. DIAMANDIS , WILLIAM D.        )
HUMES, and WILLIAM E. CURRAN,          )
                                       )
            Defendants.                )
                                       )
      and                              )
                                       )
3D SYSTEMS CORPORATION,                )
                                       )
            Nominal Defendant.         )


MARK FOSTER,                           )       Civil Action No. 0:16-cv-01016-MGL
                                       )
            Plaintiff,                 )
                                       )
      V.                               )
                                )
ABRAHAM REICHENTAL; DAMON       )
GREGOIRE; CHARLES HULL;         )
WILLIAM E. CURRAN; KEVIN S.     )
MOORE; DANIEL VAN RIPER;        )
WALTER G. LOEWENBAUM II; JIM D. )
KEVER; KAREN WELKE; PETER       )
DIAMANDIS ; AND WILLIAM HUMES , )
                                )
           Defendants.          )
                                )
     and                        )
                                )



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3D SYSTEMS CORPORATION, a              )
Delaware corporation,                  )
                                       )
            Nominal Defendant.         )


DA VE HOWES, Derivatively on Behalf of )       Civil Action No. 0:16-cv-02810-MGL
3D SYSTEMS CORPORATION,                )
                                       )
          Plaintiff,                   )
                                       )
      V.                               )
                                 )
ABRAHAM N. REICHENT AL, DAMON )
J. GREGOIRE, CHARLES W . HULL,   )
THEODORE A. HULL, WILLIAM E .    )
CURRAN, PETER H. DIAMANDIS ,     )
WILLIAM D. HUMES , JIM D. KEVER, )
G. WALTER LOEWENBAUM, KEVIN S. )
MOORE, DANIEL S. VAN RIPER, and  )
KAREN E. WELKE,                  )
                                 )
             Defendants.         )
                                 )
      and                        )
                                 )
3D SYSTEMS CORPORATION, a        )
Delaware corporation,            )
                                       )
            Nominal Defendant.         )


PHILLIP AMEDURI, Derivatively on  )            Civil Action No. 0: 16-cv-02995-MGL
Behalf of 3D SYSTEMS CORPORATION, )
                                  )
              Plaintiff,          )
                                  )
      V.                               )
                                       )
ABRAHAM N. REICHENTAL, DAMON           )
J. GREGOIRE, CHARLES W. HULL,          )
THEODORE A. HULL, WILLIAM E .          )
CURRAN, PETER H. DIAMANDIS ,           )
WILLIAM D . HUMES, JIM D . KEVER,      )
G. WALTER LOEWENBAUM, KEVIN S.         )
MOORE, DANIEL S. VAN RIPER, and        )



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KAREN E. WELKE,                              )
                                             )
              Defendants.                    )
                                             )
       ~d                                    )
                                             )
3D SYSTEMS CORPORATION, a                    )
Delaware corporation,                        )
                                             )
              Nominal Defendant.             )


                             FINAL ORDER AND JUDGMENT

       On the 19th day of December, 2019, a hearing having been held before this Court pursuant

to the Order Preliminarily Approving Settlement dated October 2, 2019 (the "Preliminary

Approval Order"), to determine: (1) whether the terms and conditions of the Stipulation and

Agreement of Settlement dated as of September 20, 2019, including all exhibits thereto (the

"Stipulation") are fair, reasonable, and adequate for the settlement of all claims asserted against

the Defendants in the operative complaints now pending in this Court under the above caption (the

"Consolidated Derivative Action"), including the release of the Released Persons, and should be

approved; and (2) whether judgment should be entered dismissing the Consolidated Derivative

Action on the merits and with prejudice in favor of the Defendants herein. The Court having

considered all matters submitted to it at the hearing ~d otherwise, ~d it appearing that due and

adequate notice having been given by 3D Systems Corporation ("3D Systems" or the "Comp~y")

to Current 3D Systems Stockholders substantially in the forms approved by the Court in the

Court's Preliminary Approval Order, and the Court having considered all papers filed and

proceedings held herein, ~d otherwise being fully informed, and good cause appearing therefor,

and all capitalized terms used herein having the me~ings set forth ~d defined in the Stipulation.

       NOW, THEREFORE IT IS HEREBY ORDERED THAT:




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        1.      This Final Order and Judgment ("Judgment") incorporates herein the Stipulation,

including the exhibits thereto .

        2.      This Court has jurisdiction to enter this Judgment. This Court has jurisdiction over

the subject matter of the Consolidated Derivative Action, including all matters necessary to

effectuate the Settlement, as well as personal jurisdiction over all Settling Parties.

        3.      The record shows that Notice has been given to all Current 3D Systems

Stockholders in the manner approved by the Court in the Preliminary Approval Order. The Court

finds that such Notice: (i) constitutes reasonable and the best notice practicable under the

circumstances; (ii) constitutes notice that was reasonably calculated, under the circumstances, to

apprise all Current 3D Systems Stockholders of the pendency of the Consolidated Derivative

Action, the terms of the Settlement, and Current 3D Systems Stockholders' right to object to and

to appear at the Settlement Hearing held on the 19th day of December, 2019; (iii) constitutes due,

adequate, and sufficient notice to all Persons or entities entitled to receive notice in accordance

with Rule 23.l(c) of the Federal Rules of Civil Procedure; and (iv) meets the requirements of due

process and all other applicable law.

        4.      In light of the substantial benefits to the Company, the complexity, expense,

possible duration of further litigation against the Individual Defendants, and the uncertainty

inherent in the continued prosecution of the claims in the Consolidated Derivative Action through

trial and any subsequent appeal(s), the Court hereby fully and finally approves the Settlement,

pursuant to Rule 23 .1 (c), as set forth in the Stipulation in all respects, and finds that the Settlement

is, in all respects, fair, reasonable, and adequate, and in the best interests of 3D Systems and its

stockholders. This Court further finds the Settlement set forth in the Stipulation is the result of




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arm's-length negotiations between experienced counsel representing the interests of 3D Systems,

3D Systems' stockholders, and the Individual Defendants.

       5.      The Settling Parties are hereby directed to implement and consummate the

Settlement according to the terms and provisions of the Stipulation.

       6.      The Consolidated Derivative Action and all claims contained therein, as well as all

of the Released Claims, are dismissed on the merits and with prejudice. The Settling Parties are

to bear their own costs, except as otherwise provided in the Stipulation and in this Judgment.

       7.      The Court finds and concludes that the Settling Parties and their respective counsel,

have at all times complied with each requirement of Rule 11 of the Federal Rules of Civil

Procedure, and particularly with Rule 1 l(b) of the Federal Rules of Civil Procedure, in connection

with the institution, prosecution, defense, and/or settlement of this Consolidated Derivative Action.

       8.      Upon the Effective Date, Plaintiffs (acting on their own behalf and derivatively on

behalf of 3D Systems), shall be deemed to have, and by operation of this Judgment shall have,

fully, finally, and forever released, relinquished, and discharged and dismissed with prejudice the

Released Claims (including Unknown Claims) against the Individual Defendants and each and all

of the other Released Persons. Plaintiffs are bound by this Judgment including, without limitation,

the release of claims as set forth in the Stipulation. The Released Claims are hereby compromised,

settled, released, discharged, and dismissed as against the Individual Defendants or any other

Released Persons on the merits and with prejudice by virtue of the proceedings herein and this

Judgment. Nothing herein shall in any way impair or restrict the rights of any Settling Party to

enforce the terms of the Stipulation.

       9.      Upon the Effective Date, the Released Persons shall be deemed to have, and by

operation of the Judgment shall have, fully, finally, and forever released, relinquished, and




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discharged Plaintiffs and Plaintiffs' Counsel from the Released Defendants' Claims (including

Unknown Claims) arising out of, relating to, or in connection with the institution, prosecution,

assertion, settlement, or resolution of the Consolidated Derivative Action or the Released

Defendants' Claims.

        10.     Neither this Judgment, the Settlement (whether or not consummated), the

Stipulation (including any exhibits attached thereto), nor any of its terms and provisions, nor any

negotiations, discussions, or proceedings connected with the Settlement or Stipulation, nor any act

performed or document executed pursuant to or in furtherance of the Stipulation or the Settlement,

shall be: (a) offered or received against the Released Persons as a presumption, concession, or

admission by any of the Released Persons, or evidence of the validity or lack of validity of any

Released Claims, or of any fault, wrongdoing, or liability of the Settling Parties or Released

Persons; or (b) offered or received against the Released Persons as evidence of a presumption,

admission, or evidence of, any liability, fault, or omission of any of the Settling Parties or Released

Persons in any civil, criminal, administrative, or other proceeding in any court, administrative

agency, tribunal, or other forum. Neither the Stipulation nor the Settlement shall be admissible in

any proceeding for any purpose, except to enforce the terms of the Settlement, and except that the

Released Persons may file or use the Stipulation and/or the Judgment in any action that may be

brought against them in order to support a defense or counterclaim based on principles of res

judicata, collateral estoppel, full faith and credit, release, good faith settlement, standing, judgment

bar or reduction, or any other theory of claim preclusion or issue preclusion, or similar defense or

counterclaim.

        11.     The Court hereby approves the Fee and Expense Amount and Service Awards in

accordance with the Stipulation.




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        12.     Payment of the Fee and Expense Amount and Service Awards made by the

Defendants' insurance carriers, as specified in ,i,i IV .4.1-IV .4.3 of the Stipulation, shall be

immediately releasable upon the entry of this Judgment, notwithstanding the existence of any

collateral attacks on the Settlement, the Fee and Expense Amount, and/or the Service Awards,

including, without limitation, any objections or appeals, in accordance with the terms and

conditions set forth in the Stipulation.

        13 .    Without affecting the finality of this Judgment, the Court retains continuing and

exclusive jurisdiction over all matters relating to administration, consummation, enforcement, and

interpretation of the Stipulation, the Settlement, and of this Judgment, to protect and effectuate this

Judgment, and for any other necessary purpose. Plaintiffs, Defendants, and each 3D Systems

stockholder are hereby deemed to have irrevocably submitted to the exclusive jurisdiction of this

Court, for the purpose of any suit, action, proceeding, or dispute arising out of, or relating to, the

Settlement or the Stipulation, including the exhibits thereto, and only for such purposes. Without

limiting the generality of the foregoing, and without affecting the finality of this Judgment, the

Court retains exclusive jurisdiction over any such suit, action, or proceeding.

        14.     In the event that the Settlement is terminated as provided in the Stipulation or the

Effective Date does not occur, this Judgment shall be vacated, and all orders entered, and releases

delivered, in connection with the Stipulation and this Judgment shall be null and void, except as

otherwise provided for in the Stipulation, and the Settling Parties shall be returned to their

respective positions that existed immediately prior to the date of the execution of the Stipulation

and as set forth in ,i IV.6.3 of the Stipulation.




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       15 .    Without further order of the Court, the parties to the Stipulation are hereby

authorized to agree to and adopt such amendments or modifications of the Stipulation or any

exhibits thereto to effectuate the Settlement that are not materially inconsistent with this Judgment.

       16.     There is no just reason for delay in the entry of this Judgment as a final judgment

in this Consolidated Derivative Action and immediate entry by the Clerk in accordance with Rule

58 of the Federal Rules of Civil Procedure is expressly directed.

       IT IS SO ORDERED.


                                              s/Mary Geiger Lewis
                                              MARY GEIGER LEWIS
                                              UNITED STA TES DISTRICT JUDGE
Columbia, South Carolina
December 19, 2019




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